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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)          Civil Action No.: 1:18-cv-11642

                          Plaintiff,
              -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                          Defendants,
              -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                           Nominal Defendant.




    MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR DECLARATORY
       RELIEF AND MOFIDICATION OF THE RECEIVERSHIP ORDER




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       Defendant Vincent Wenyong Shi (“Defendant” or “Mr. Shi”), by and through his

undersigned attorneys, hereby respectfully submits this memorandum of law in support of his

motion for an Order (1) declaring equitably tolled pending the dissolution of the receivership all

statutes of limitation applicable to claims by Link Motion Inc. (the “Company”) against DLA Piper

LLP (US) (“DLA”), Caryn Schechtman (“Schechtman”), and Marc A. Silverman (“Silverman”

and together with DLA and Schechtman, the “DLA Defendants”) for legal malpractice and, in the

alternative, breach of fiduciary duty (the “Claims”); and (2) modifying paragraph 2(e) of the

receivership order (Dkt. No. 26) to permit Shi authority to retain counsel to commence an action

on behalf of the Company against the DLA Defendants for the Claims.

                                 PRELIMINARY STATEMENT

       This motion raises the following issue: On January 21, 2019, six weeks prior to making a

motion to the Court to be relieved as counsel to the Company, the DLA Defendants signed and

filed a stipulation purporting to agree to the appointment of Robert W. Seiden (“Mr. Seiden”) as

Receiver. At the time that the DLA Defendants made this filing with the Court, they had not

provided the Company with material information that would allow the Company to provide

informed consent to the stipulation. Specifically, the DLA Defendants had not informed the

Company that Plaintiff Wayne Baliga (“Mr. Baliga”) lacked standing to bring a derivative claim

because he held merely ADSs and was not a registered shareholder. If the DLA Defendants had

provided this critical information, the Company would have been able to move to dismiss Mr.

Baliga’s complaint instead of acceding to the appointment of Mr. Seiden as Receiver.

       As a result of DLA Defendants’ failure to provide competent legal advice to the Company

and, instead, assuming that it had authority to enter into a stipulation agreeing to the receivership,

the only person who has authority currently to bring an action against the DLA Defendants for
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their faulty advice is the very Receiver who has benefited directly from the DLA Defendants’

incompetence. To undo this incongruous situation in which Mr. Seiden is conflicted from bringing

a legal malpractice claim on behalf of the Company against the DLA Defendants because it could

result in the termination of his appointment, the Court should declare equitably tolled all statutes

of limitation applicable to claims by the Company against the DLA Defendants pending the

dissolution of the receivership and modify the Order of Receivership to grant Shi the power to

retain counsel to commence an action on behalf of the Company against the DLA Defendants for

the Claims with such action deemed commenced as of March 1, 2021.

                                       STATEMENT OF FACTS

         A.       Background

         The Company is organized under the laws of the Cayman Islands.1             In accordance

therewith, the shareholders’ identities are maintained on a Cayman Islands register.2 Only

shareholders identified on the register of shareholders have standing to sue derivatively on behalf

of the Company.3 The Company operates as a “Variable Interest Entity” (“VIE”), whereby its

wholly owned subsidiary in the PRC has by contract (the “Control Documents”) control over and

rights to the economic benefits of operating companies located in the PRC.4 The Company does

not own and has never owned shares of the operating companies in the PRC.5 The VIE structure

exists to permit foreign owned companies to obtain control over and rights to economic benefits

of technology companies operating in the PRC that by PRC law may not be owned by non-PRC

persons.6



1
  See Dkt. No. 130-2, at 2, 10, 53.
2
  See Dkt No. 131, ¶¶ 22.
3
  See Declaration of Michael James Maloney, dated March 1, 2021, Ex. G.
4
  See Dkt. No. 130-2, at 2, 10, 48, 53.
5
  See Dkt. No. 178-7, at p.97-98,224-25,227-33.
6
  See Dkt. No. 178-7, at p.97-98,224-25,227-33.


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         In 2011, the Company made an initial public offering of ADSs on the New York Stock

Exchange (“NYSE”).7 ADS holders are not registered shareholders.8 Upon its initial public

offering in 2011, the Company disclosed this fact in its Form F-1: “[w]e will not treat ADS holders

as our shareholders and accordingly, you, as an ADS holder, will not have shareholder rights.

Cayman Islands law governs shareholder rights.”9 Instead, each ADS represents rights and

interests to five shares of common stock held in trust by a depositary.10 Only the depositary is

listed as a registered shareholder. See Shi Decl. Ex. A (Dkt. No. 130-1).

         B.       The Baliga Action

         On December 13, 2018, Baliga filed his Verified Shareholder Complaint. Maloney Decl.

Ex. C (Dkt. No. 1). He alleged that he “is currently and has at all material times of this Action

been a shareholder.” Maloney Decl. Ex. C, ¶ 4 (Dkt. No. 1). He purported to bring the action

derivatively, in the right and for the benefit of the Company. Maloney Decl. Ex. C, ¶ 32 (Dkt. No.

1). He filed his complaint by and through his counsel, the Seiden Group.11 Baliga’s allegations

were false because he is not a registered shareholder and lacks standing to sue derivatively on

behalf of the Company; rather he merely holds ADSs.12

         C.       The DLA Defendants’ Malpractice

         On December 14, 2018, Baliga sought an order (i) preliminarily enjoining the Company

and the individual defendants from taking certain corporate actions; and (ii) appointing Seiden as

Receiver (Seiden is the managing director of the law firm representing Baliga).13




7
  See generally Dkt. No. 130-2.
8
  See Dkt. No. 130-2, at 141.
9
  See Dkt. No. 130-2, at 141.
10
   See Dkt. No. 130-2, at 141.
11
   See Maloney Decl. Ex. A.
12
   See Dkt. No. 181-1, 181-2, 181-3; Dkt. No. 130-2, at 141.
13
   See Dkt. No. 7.


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         On or about December 13, 2018, DLA received copies of the papers filed in the Baliga

Action and correspondence from Baliga’s counsel.14 In an email to the Company dated December

14, 2018, Defendant Schechtman advised that DLA would send an associate to appear before the

Court in connection with Baliga’s application for a temporary restraining order (the “TRO”).15

Thus, DLA undertook to represent the Company in this matter. In doing so, DLA undertook the

duty to represent the Company competently.

         As a result of its representation of the Company, DLA knew or should have known at the

time of its December 14, 2018 email to the Company that Baliga was not a registered shareholder

and, therefore, lacked standing to bring any derivative claims or seek entry of the TRO.16 In the

same December 14, 2018 email, the DLA Defendants failed to advise the Company that Baliga

was not a registered shareholder and, therefore, lacked standing to bring any derivative claims or

seek entry of the TRO.17 Indeed, the DLA Defendants never imparted this critical information to

the Company.

         Upon information and belief, DLA did not argue to the Court that Baliga’s status as a holder

of ADSs did not confer him status as a registered shareholder and, therefore, he lacked standing to

bring any derivative claims or seek entry of the TRO.18 The Court entered a TRO on December

14, 2018. 19

         On December 19, 2018, Defendants wrote to the Company regarding a request by counsel

for Baliga to consent to an extension of the TRO until a ruling on Baliga’s application for a

preliminary injunction.20 In the email, the DLA Defendants failed to advise the Company that


14
   See Maloney Decl., Ex. J; Declaration of Vincent Wenyong Shi, dated March 1, 2021 (the “Shi Decl.”), ¶ 2.
15
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
16
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
17
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
18
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
19
   See Maloney Decl., Ex. B.
20
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.


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Baliga was not a registered shareholder and, therefore, lacked standing to bring any derivative

claims or seek entry of the TRO or a preliminary injunction.21

         Notwithstanding the fact that Baliga had no standing to bring the Baliga Action, or to seek

entry of the TRO, on December 21, 2018, DLA co-signed a “Joint Letter” that was filed in the

Baliga Action at Docket No. 7 on December 21, 2018.22 In the Joint Letter, the DLA Defendants

state, purportedly on behalf of the Company, that “[the Company] does consent” to the TRO

(emphasis added).23 But the Company had not provided informed consent or authorization for this

purported statement of consent.24

         On January 15, 2019, the DLA Defendants wrote an email to the Company regarding the

pending application by Baliga for entry of a preliminary injunction and appointment of a receiver.25

In the email, the DLA Defendants failed to advise the Company that Baliga was not a registered

shareholder and, therefore, lacked standing to bring any derivative claims or seek entry of the

TRO, a preliminary injunction or entry of a preliminary injunction.26

         On January 19, 2019, the DLA Defendants wrote an email to the Company advising that

“if we do not hear back from you within 24 hours, DLA will assume that we have Link Motion’s

consent not to oppose the motion.”27 (emphasis added). In the email, the DLA Defendants failed

to advise the Company that Baliga was not a registered shareholder and, therefore, lacked standing

to bring any derivative claims or seek entry of the TRO, a preliminary injunction or entry of a

preliminary injunction.28 Nor was there any basis for DLA to make such a radical assumption.



21
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
22
   See Maloney Decl., Ex. C, J; Shi Decl., ¶ 2.
23
   See Maloney Decl., Ex. C.
24
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
25
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
26
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
27
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.
28
   See Maloney Decl., Ex. J; Shi Decl., ¶ 2.


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DLA was aware that the officers of the Company were unfamiliar with U.S. litigation and were

looking to DLA to provide appropriate legal advice and guidance.

         On January 21, 2019, DLA signed a purported “Stipulation” filed in the Baliga Action at

Docket No. 22., agreeing that the Company “does not oppose the Preliminary Injunction,” while

at the same time claiming to making only a limited appearance on behalf of the Company,

reserving all “objections, defenses or responses to the Complaint.”29

         Defendants made this stipulation without the informed consent of the Company.

         On February 1, 2019, granting Baliga’s request, the Court entered an order appointing the

Receiver, who also happens to be the managing partner of the law firm representing Baliga. Among

other things, paragraph 2(e) of the receivership order delegated to the Receiver the exclusive

authority to bring actions on behalf of the Company.30

         By letter dated March 1, 2019, the DLA moved for leave to withdraw as counsel to the

Company.31 In support of their withdrawal, DLA claimed that the Company failed to cooperate in

its representation, despite just six weeks prior having purported to enter a stipulation on behalf of

the Company appointing a receiver. In moving for leave to withdraw, DLA did not advise the

Court that it had not obtained the Company’s informed consent prior to purporting to “consent”

to the TRO, preliminary injunction and appointment of the Receiver on behalf of the Company.

         D.       The Receiver and His Agent in the PRC Has Caused Damage to the
                  Company

         Shortly after his appointment as Receiver, Seiden took possession of cash and other assets

belonging to the Company. In a Form 6-K filed with the Securities and Exchange Commission

(the “S.E.C.”) on March 26, 2019, Seiden stated that he had removed Shi as Chairman and Chief


29
   See Maloney Decl., Ex. D.
30
   See Maloney Decl., Ex. E.
31
   See Maloney Decl., Ex. F.


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Executive Officer, and appointed Mr. Lilin “Francis” Guo (“Guo”) as his replacement, subject to

the laws of the Cayman Islands.” Maloney Decl. Ex F. By Order dated June 20, 2019, the Court

approved Seiden’s request to approve a “compensation incentive agreement and promissory note”

between the Company and Guo.32 At or around the same time, Seiden appointed Guo as the director

and attorney-in-fact of the Company’s PRC “wholly foreign owned entity,” Beijing Technology.

None of the foregoing corporate actions were approved by the Board at a duly noticed meeting.

But for the appointment of the receiver pursuant to the February 1, 2019 Order, the foregoing

actions ordinarily would have required the consent of the Board. Seiden has also charged fees for

his “services” and retained Guo and other “professionals,” all at the expense of the Company. (Dkt.

Nos. 54, 59).

         Beginning in 2019, the Receiver, through his agent, Guo, began to shut down the operations

of the Company in the PRC.33 These actions resulted in judgments being entered against the

Company in favor of former employees seeking wages. At the time Seiden took control over the

Company’s accounts, the Company had available to it cash balances in excess of $1 million.34

Instead of paying the judgments Seiden and Guo caused to be entered against the Company, Guo

appealed them without any basis in law or fact.35 Predictably, the judgments have now been

affirmed.36

         These harms to the Company are wholly attributable to the Receiver, who retained Guo to

act on his behalf in the PRC. Since March 2019, Guo has been the only Chairman and legal

representative of the Company’s PRC operating companies.37 As such, only Guo, and no one else,


32
   Dkt. No. 71.
33
   See Dkt. No. 182-8, ¶¶ 49-68, 74-75.
34
   See Dkt. No. 181 ¶ 26.
35
   See Dkt. No. 182-8, ¶¶ 63-67 (Dkt. No. 155); Dkt. No. 155-16; Dkt. No. 155-17; Dkt. No. 155-18; Dkt. No. 155-
19.
36
   See Dkt. No. 155-16; Dkt. No. 155-17; Dkt. No. 155-18; Dkt. No. 155-19.
37
   See Dkt. No. 155 ¶¶ 63-67; Dkt. No. 155-16; Dkt. No. 155-17; Dkt. No. 155-18; Dkt. No. 155-19.


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can act legally on behalf of those entities. It was, therefore, Guo’s decision wrongfully to appeal

the judgments, which led to the predictable denial by the appeals court. Guo and the Receiver have

had access to the Company’s other bank accounts and social media accounts for some time38 and,

therefore, could have paid the Company’s former employees. Indeed, they have been using

Company funds to pay themselves instead of paying the judgments entered in favor of the former

employees.39 For the reasons stated below, it is imperative that the Court remove the Receiver and

permit the Board to resume control of the Company.

          E.      Shi Has Acted Diligently in Advancing the Interests of the Company But Has
                  Been Stymied

          During the course of this action, Shi has diligently sought to act in the best interests of the

Company. He has sought to argue on behalf of the Company in opposition to action taken by

Plaintiff and has raised the issue of Baliga’s lack of standing with the Court.

                                                 ARGUMENT

     I.        The Statute of Limitations Applicable to the Company’s Legal Malpractice
               Claims Should be Tolled Pending the Dissolution of the Receivership

          Equitable tolling applies where petitioner “has been pursuing his rights diligently, and . . .

some extraordinary circumstance stood in his way.’” Diaz v. Kelly, 515 F.3d 149, 153 (2d Cir.

2008) (quoting Pace v. DiGuglielmo, 544 U.S. 408, 418, 125 S. Ct. 1807, 161 L. Ed. 2d 669

(2005)). Here, Shi has diligently sought to pursue the rights of the Company. Shi sought to argue

on behalf of the Company in opposition to action taken by Plaintiff and has raised with the Court

the issue of Baliga’s lack of standing. But, the appointment of the Receiver is an extraordinary

circumstance that has prevented Shi from pursuing the rights of the Company, including the right


38
   See Dkt. No. 155, ¶¶ 58-60; see, e.g., Dkt. Nos. 78 (July 1, 2019 order authorizing Receiver to disburse funds for
expenses), 97 (September 19, 2019 order authorizing Receiver to disburse funds for expenses), 100 (September 25,
2019 order directing Google to submit funds to the Receiver).
39
   See id.


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of the Company to pursue a legal malpractice claim against DLA. In particular, paragraph 2(e) of

the existing receivership order delegates solely to the Receiver the power to bring litigation on

behalf of the Company.

    II.       The Court Should Modify the Existing Receivership Order to Permit
              Commencement of the Action

          The Court retains the power to modify the existing receivership order to permit Shi, as

Director of the Company, authority to retain counsel to bring an action behalf of the Company

against the DLA Defendants for the Claims. “A receiver acts ‘as an officer of the court and has the

duty to preserve and protect the property pending the outcome of the litigation. As a result, [the

receiver's] authority is wholly determined by the order of the appointing court.’” Fed. Home Loan

Mortg. Corp. v. Spark Tarrytown, Inc., 829 F. Supp. 82, 85 (S.D.N.Y. 1993) (citing Citibank, N.A.

v. Nyland (CF 8) Ltd., 839 F.2d 93, 98 (2d Cir 1988)). “Subsequent to the appointment of a

receiver, ‘a court retains the equitable power to review the actions of the receiver and the propriety

of continuing the receivership.’” Fed. Home Loan Mortg. Corp. v. Spark Tarrytown, Inc., 829 F.

Supp. 82, 85 (S.D.N.Y. 1993) (citing FDIC v. Kisosoh Realty Corp., 1992 U.S. Dist. LEXIS 10966

at *7, 1992 WL 178600 (SDNY, J. Leisure)).

          Here, the Court should exercise its power to modify paragraph 2(e) of the existing

receivership order to permit Shi, in his capacity as Director of the Company, to retain counsel to

bring an action behalf of the Company against the DLA Defendants for the Claims.

                                           CONCLUSION

          For all the foregoing reasons, the Court should enter an Order (1) declaring equitably tolled

pending the dissolution of the receivership all statutes of limitation applicable to claims by Link

Motion Inc. (the “Company”) against DLA Piper LLP (US) (“DLA”), Caryn Schechtman

(“Schechtman”), and Marc A. Silverman (“Silverman” and together with DLA and Schechtman,



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the “DLA Defendants”) for legal malpractice and, in the alternative, breach of fiduciary duty (the

“Claims”); or (2) modifying paragraph 2(e) of the receivership order (Dkt. No. 26) to grant Shi the

power and authority to retain counsel to commence an action on behalf of the Company against

the DLA Defendants for the Claims; and granting such other and further relief as the Court deems

just and equitable.

 Dated: New York, New York                        Respectfully submitted,
        March 1, 2021
                                                  FELICELLO LAW P.C.


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